               Case 2:23-cr-00084-TL Document 69-2 Filed 07/19/24 Page 1 of 2




 1                                                                               The Honorable Tana Lin

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 6
                                 UNITED STATES DISTRICT COURT
 7                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 8
     UNITED STATES OF AMERICA,                               No. 2:23-cr-00084-TL
 9
                        Plaintiff,                           [PROPOSED] ORDER GRANTING
10                                                           MOTION TO CONTINUE TRIAL
     v.
11
     NEVIN SHETTY,
12
                        Defendant.
13

14          THIS COURT, having considered Defendant Nevin Shetty’s Motion to Continue Trial, and
15   being familiar with the docket and pleadings filed therein,
16          HEREBY FINDS that the ends of justice served by a continuance of the trial date outweigh
17   the best interests of the public and the defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A).
18          THIS COURT FURTHER FINDS that given the outstanding trial subpoena productions
19   and Brady material requested by the defendant, a reasonable period of delay is necessary on the
20   grounds that the failure to grant such a continuance in the proceedings would likely result in a
21   miscarriage of justice. 18 U.S.C. § 3161(h)(7)(B)(i).
22          THIS COURT FURTHER FINDS that, to the extent that the issues presented by this case
23   are not so complex or unusual, the defense has exercised due diligence, and the failure to grant
24   such a continuance would deny the defendant the reasonable time necessary for effective
25   preparation. 18 U.S.C. § 3161(h)(7)(B)(iv).


     ORDER GRANTING MOTION                                                            CORR CRONIN LLP
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              Case 2:23-cr-00084-TL Document 69-2 Filed 07/19/24 Page 2 of 2




 1          THEREFORE, THIS COURT GRANTS Mr. Shetty’s motion and sets the trial of this case

 2   for March 31, 2025.

 3          THIS COURT FURTHER EXCLUDES the period from the date of this order through

 4   March 31, 2025, from computation of the time within which the trial must commence under the

 5   Speedy Trial Act. The defendant has waived his speedy trial right through May 15, 2025.

 6          IT IS SO ORDERED.

 7          DATED this ____ day of July, 2024.

 8
                                                               __________________________
 9                                                             TANA LIN
10                                                             United States District Judge

11   Presented by:

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     ORDER GRANTING MOTION                                                        CORR CRONIN LLP
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